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A0 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                      Western District of Texas

                  United States of America
                                V.
                                                                          Case No.
           OLUMIDE BANKOLE MORAKINYO                                                  t            5-

                                                                                                              JUL 1 9 2019
                          Defendant(s)
                                                                                                   CLERK, U$.      DtSTRICT'C.$f
                                                CRIMINAL COMPLAINT                                 WESTERN       DISTRlCTrs
                                                                                                                       DEPaTY(CLERK
          I, the complainant in this case, state that the following is true to the best  of my knowledge and belief.
On or about the date(s) of                    May 1,2017                  in the county of           Travis                 in the
      Western          District of            Texas             the defendant(s) violated:

             Code Section                                                    Offense Description



Title 18 usc 1956(h)                           -Conspiracy to commit money laundering




          This criminal complaint is based on these facts:
See Attachment




          !r   Continued on the attached sheet.


                                                                                             Complainant's signature

                                                                                     Cade Cannon, FBI Special Agent
                                                                                           Printed name and title

Sworn to before me and signed in my presence.


Date:
            /1
                 q/t                                                                            Judge signature

City and state:                          Austin, Texas                            Andrew W Austin, us Magistrate Judge
                                                                                          Printed name and title
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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

                           AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Cade Cannon, being first duly sworn, hereby state as follows:

         I am a Special Agent with the Federal Bureau    of Investigation (FBI), and have been

employed as a Special Agent since October 10, 2010. After completing FBI New Agent

Training in Quantico, Virginia, I was initially assigned to the Miami Field Office where I

investigated fraud and money laundering crimes for approximately three years. Two of these

investigations proceeded to trial where I testified extensively regarding fraud and money

laundering crimes. In this capacity, I also received training related to fraud and money

laundering crimes. I am currently assigned to the San Antonio Division, Austin Resident

Agency, where I investigate computer intrusion matters. In this capacity, I have received

training and have experience in conducting investigations related to computer crimes, including

fraud.

         This affidavit is intended to show merely that there is sufficient probable cause for the

requested Complaint and Arrest Warrant. It does not set forth all of my kilowledge about this

matter. All facts are relayed in sum and substance.

         Based on my training and experience and the facts as set forth in this affidavit, there is

probable cause to believe that violations of 18 U.S.C.   §   1956(h) (money laundering conspiracy)

have been committed by Olumide Bankole Morakinyo.

THE STATUTE VIOLATED


Title 18 U.S.C. 1956, Money Laundering:
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"(a)( 1 )Whoever, knowing that the property involved in a fmancial transaction represents the

proceeds of some form of unlawful activity, conducts or attempts to conduct such a financial

transaction which in fact involves the proceeds of specified unlawful    activity
(A) (i) with the intent to promote the carrying on of specified unlawful activity; or

(B) knowing that the transaction is designed in whole or in    part
(i) to conceal or disguise the nature, the location, the source, the ownership, or the control    of the

proceeds of specified unlawful activity; or

(ii) to avoid a transaction reporting requirement under State or Federal law,

shall be sentenced to a fine of not more than $500,000 or twice the value of the property

involved in the transaction, whichever is greater, or imprisonment for not more than twenty

years, or both. For purposes of this paragraph, a fmancial transaction shall be considered to be

one involving the proceeds of specified unlawful activity if it is part of a set of parallel or

dependent transactions, any one of which involves the proceeds of specified unlawful activity,

and all of which are part of a single plan or arrangement.

(h) Any person who conspires to commit any offense defined in this section or section 1957 shall

be subject to the same penalties as those prescribed for the offense the commission of which was

the object of the conspiracy."

FACTS ESTABLISHING PROBABLE CAUSE

Summary

       Olumide Morakinyo (Morakinyo), a Canadian resident, former resident of the United

States, and native of Nigeria, conspired with others, including Lukman Aminu (Aminu), to

commit money laundering. Morakinyo used Aminu to procure prepaid debit cards in the United

States; Aminu would then send Morakinyo the debit card numbers. Those cards were then
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activated with the personally identifiable information ("P11") of victim of multiple scams. Money

was taken from or in the name of those victims and then loaded onto those cards. Aminu, who

still possessed the physical cards, would then withdraw the money under instructions from

Morakinyo. Aminu would then transfer or deposit that money at Morakinyo's direction. As

described below, two of the scams victimized individuals in the Western District of Texas. One

scam involved defrauding the Employees Retirement System of Texas; the other scam involved

stealing the P11 from a Texas Certified Public Accountant (CPA) and filing fraudulent tax

refunds with the Internal Revenue Service.

Detailed Facts

        Beginning in June of 2017, an unidentified subject, or subjects, began creating

unauthorized accounts for participants in the Employees Retirement System of Texas ("ERS")

internet portal. The subject accessed the ERS participant internet portal and used ERS

participants'   P11   to create 30 accounts for participants who were all over the age of 65 and did

not have accounts in the portai. After creating the accounts, the subject changed the bank

accounts on file with ERS for 26 participants' retirement payments. ERS, based in Austin,

Texas, in the Western District of Texas, detected the fraudulent activity, but not before ERS

sustained an actual loss of $10,605.18 with a potential minimum attempted loss estimated at

$131,461.64.

       On July 31, 2017, an unidentified subject created an account for Victim-i in the ERS

internet i,ortal using Victim-i's P11. The subject then successfully changed the bank account on

file with ERS for Victim-i to a MasterCard prepaid debit card issued by Green Dot Bank (the

"Green Dot card"). On August 29, 2017, Victim-i's monthly retirement payment of $ i ,972.97
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was deposited onto the Green Dot card. On September 27, 2017, Victim-i's monthly retirement

payment of $1,972.97 was again deposited onto the Green Dot card.

       According to Green Dot account records, Victim-2, a resident of West Orange, New

Jersey, activated the Green Dot card on June 27, 2017. On February 8, 2018, Victim-2, 82 years

old, was interviewed by law enforcement and stated she had never purchased, owned, or received

a Green Dot prepaid debit card. Victim-2 also stated that at some point in 2017 she did not

receive her deceased husband's monthly retirement payment of $1,561.22 from Prudential

Financial. Records subpoenaed from Green Dot showed a payment of$1,561.22 on July 31,

2017, from Prudential to the Green Dot card.

       Records provided by Green Dot showed that the Internet Protocol address 45.76.175.244

was used numerous times from July 31, 2017 through October 17, 2017, to access the online

account for the Green Dot card. An Information Security Officer employed at ERS confirmed

that this IP address, 45.76.175.244, was also used to access the ERS participant internet portal on

October 7, 2017, and October 9, 2017. Unauthorized accounts were created in the ERS

participant internet portal on both of these days. The IP address is registered to Choopa, LLC, a

company that provides "bulletproof hosting" to customers who wish to obtain IP addresses

anonymously.

       An analysis of records showed that on August 30, 2017, the day after Victim-i's

retirement payment was deposited on the Green Dot card, the card was used at a Hannaford

Supermarket in Manchester, NH, to make a purchase of $1,904. Records also showed that on

September, 28, 2017, the day after Victim-i 's second retirement payment was deposited on the

Green Dot card, the card was again used at a Hannaford in Manchester, NH, to make a purchase

of $1,905.


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       Records subpoenaed from Hannaford Supermarket showed that the purchases were of

Western Union money orders. Two of the $500 money orders were made out to "Lukman

Aminu." Hannaford also provided photographs of the individual who purchased the money

orders on September 28, 2017 and it appears to show Aminu. The MoneyGram money order

payable to Aminu was deposited into an account at Digital Federal Credit Union. Account

records showed that Aminu opened the account on March 16, 2016, and provided the email

address engineerlookmanyahoo.com in the account application. The account was closed on

November 6, 2017. On May 28, 2018, a search warrant was executed on the email account

engineerlookman@yahoo.com. A review of the emails showed the account was used to send

credit card numbers with expiration dates and CCV numbers to marvina1ba247yahoo.com.

The search warrant returns from Yahoo included emails sent and received by a second Yahoo

email account, edwardheaton999@yahoo.com. The Yahoo representative explained that

edwardheaton999yahoo.com was an Internet Message Access Protocol email account linked to

engineerlookman@yahoo.com.

       On July 19, 2018, a search warrant was executed on the email account

edwardheaton999@yahoo.com. A review of the account showed the

edwardheaton999@yahoo.com account was used to send emails containing bank account

information (including account usernames and passwords) and credit card numbers (with

expiration dates and CCV numbers) to multiple email accounts.

       On July 12, 2018, Aminu was arrested pursuant to a complaint issued in the Western

District of Texas charging him with Conspiracy to Commit Money Laundering for his role in the

ERS fraud. Aminu agreed to speak with law enforcement following his arrest. During the

interview, Aminu admitted he used an email account, edwardheaton999yahoo.com, at the
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direction of an associate, Olumide Morakinyo, to send Morakinyo numbers for prepaid debit

cards issued by Green Dot that Aminu purchased in New Hampshire. Morakinyo would then

load money onto the prepaid debit cards and email the numbers back to Aminu once they were

loaded. Aminu would then withdraw the money from the cards.

         Following Aminu's arrest, a search warrant was executed at his residence and on his

electronic devices, including his mobile phone. A review of Aminu's WhatsApp account on his

mobile phone showed messages between Aminu and a contact named "Olu Cana." The phone

number associated with "Olu Cana" was (226) 606-7625, a Canadian number. From May 1,

2017, to June 28, 2018, Aminu sent messages to "Olu Cana" with the numbers of approximately

300 MasterCard prepaid debit cards issued by Green Dot.

         On June 11, 2017 Aminu sent a WhatsApp message to "Olu Cana," phone number (226)

606-7625, with the account information for the Green Dot card that was used to receive Victim-

l's ERS retirement payments.    On August 30, 2017, "Olu Cana" sent Ainiriu a WhatsApp

message that read "1656 abere 8532 elo 1972." 1656 are the last four digits of the Green Dot

card used to receive Victim-i 's ERS retirement payments. $1,972.97 is the amount of Victim-

l's ERS retirement payment that was deposited on the Green Dot card on August 31, 2017.
Figure   1   Screenshot of06/11/2017 WhatsApp Messagefrom Lukman Aminu to "Olu Cana"

                              1Q1nh73re4swIpaMcpunøI9-1v)
12/19. 051

4143980009037428
12/19.915

4143980008326657
12/19. 704

5249050018751658
07/20. 777




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Figure           2     Screenshot of 08/30/2017 WhatsApp Messages between "0/u Cana" and Lukman

Aminu

 W32D17 11:151e A urC
 1656 abere 8532 elo 1972
                                 nbccIg.   1e7     wh.flht(Olu   *)

 Plat$onn Mobile

 I3W2O17        t1:1t32AflO                191T?1ThThItwn.tRa9TV)
 Ok
 Status: Sent
 Platfoqrn:   Mobile




                 A subpoena was issued to Green Dot for records related to the Green Dot prepaid debit

cards sent by Aininu to "Olu Cana" through WhatsApp. In addition to the Green Dot card used

to receive the Victim-i 's ERS retirement payments, 254 additional Green Dot cards sent by

Aminu to "Olu Cana" were registered with different individuals' personally identifiable

information. Approximately $265,000 was loaded on 47 of these cards. Approximately

$229,000 of this total amount came from deposits by the U.S. Internal Revenue Service. Three

of the deposits by the U.S. Internal Revenue Service were made on Green Dot cards registered in

the names of clients of an accounting firm in Georgetown, Texas, which is within the Western

District of Texas. The owner of the firm, a certified public accountant, was interviewed by law

enforcement and confirmed that fraudulent tax filings had been made for a number of his clients

in 2017. After the fraudulent tax filings were discovered, a forensic investigation determined the

firm's computer system had been infected with maiware.

                A subsequent review of Aminu's WhatsApp messages with "Olu Cana" showed that on

May       1,     2017, Aminu sent a WhatsApp message to "Olu Cana" with nine Green Dot card

numbers, including one with 7971 as the last four digits. On May 16, 2017, "Olu Cana" sent

Aminu a WhatsApp message that read "017971 abere 2131 amt 8160." Subpoenaed records

showed that the Green Dot card ending in 7971 was registered in the name of Victim-3, a client
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of the accounting firm in Georgetown, Texas. Victim-3's tax refund for $8,490 was deposited on

the card.

Figure       3     Screenshot of 05/01/2017 WhatsApp Messagefrom Lukman Aminu to "0/u Cana"

Greeny!

4143980009865299
12/19. 881

4143970047288646
04/20. 269

5249050013755710
04/20. 844

5249050001423727
11/19. 045

4143970059559447
06/20. 675

4143970059559314
06/20 356

4143980010017971
12/19. 451

4143980009805444
12/19. 809

4143980001733941
11/19.632
Status: Sent
Platform; Mobile




Figure       4     Screenshot of 05/16/2017 WhatsApp Messagefrom "0/u Cana" to Lukman Aminu


Status: Rend
Platform: Mobile




             On May 10, 2017, Aminu sent a WhatsApp message to "Olu Cana" with seventeen Green

Dot card numbers including one with 1096 as the last four digits and another with 6673 as the

last four digits. Subpoenaed records showed that the Green Dot card ending in 1096 was

registered in the name of Victim-4, a client of the accounting firm in Georgetown, Texas. IRS

records show that Victim-4's tax refund for $4,236 was issued and directed to the Green Dot

card. Subpoenaed records showed that the Green Dot card ending in 6673 was registered in the

name of Victim-5, also a client of the accounting firm in Georgetown, Texas. Victim-5's tax

refund for $8,886.37 was issued and directed to the Green Dot card.



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Figure       5     Screenshot of 05/10/2017 WhatsApp Messagefrom Lukman Aminu to "0/u Cana"

 4143980010750183
 12/19. 855

 4143980008328562
 12/19. 793

 4143980001480867
 11/19. 636

 4143980008328554
 12/19. 617

 4143980029521062
 07/20. 247

 4143980029521096
 07/20. 170

 4143980008326673
 12/19. 252




             On May 31, 2017, "Olu Cana" sent Aminu a WhatsApp message with the address "7115

supply avenue, rose dale, md 21236." "Olu Cana" sent a subsequent message that read

"21237*." 21237 is the correct zip code for 7115 Supply Avenue, Rosedale, Maryland. After

sending the address, "Olu Cana" sent Aminu a third message that read "Good to go."

Figure       6 Screenshot of     05/31/2017 WhatsApp Messagefrom "0/u Cana" to Lukman Aminu

V31t17 17:4ePMUflt4)DUcnIncnh1g.
7115 supply avenue, rose dale md 21236
Status: Read
Platform: Mobile

                                                   I(   I'']
Status: Read
Platform: Mobile

&1f2017 358
Good to go
Status: Read
Platform: Mobile




             On June 9, 2017, "Olu Cana" sent Aminu a WhatsApp message that contained a photo of

a Barclays Bank credit card in the name of Victim-6. A subpoena was issued for records related

to the credit card. The Barclays Bank records indicated an unidentified individual applied for a

Barclaycard MasterCard on June 1, 2017, in the name of Victim-6. Stolen personal identif'ing

information (P11) for Victim-6, to include his date of birth and social security number, was used

in the application for the credit card. The application was approved, and Barclays Bank credit

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card number 5 199-5500-0590-2121 was issued and sent to the home address on the application,

7115 Supply Avenue, Rosedale, Maryland, 21237. On March 1, 2019, Victim-6 was interviewed

by the FBI and stated he had never had a Barclays Bank credit card.

       Records provided by Barclays Bank showed that the credit card was used during a two-

week period in June and July of 2018, to make $8,407.00 in purchases at various restaurants,

retail stores, and grocery stores in the Toronto and Ottawa, Canada, metro areas. The credit card

was also used to make $3,837.21 in cash advances at the TD Bank branch in Brampton, Ontario,

Canada. Barclays never received any payments for this account and the account was closed for

non-payment. Barclays Bank confirmed to Texas DPS that the bank charged off an outstanding

balance on the credit card of $14,323.68, which includes the original charges of $12,244.21 plus

interest and outstanding late fees.

       The address used on the credit card application, 7115 Supply Avenue, Rosedale,

Maryland, 21237, is located in an industrial park in the Baltimore metro area. Olumide

Morakinyo, a current resident of Ontario, Canada, is associated with the 7115 Supply Avenue

address in law enforcement databases and used the address for a personal Bank of America Bank

account as late as November of 2018.




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Figure         7 Screenshot of 06/09/2017 WhatsApp Messages between Lukman Aminu and "Olu
Cana"
riy
Make victor snap front a back for us nah
Status: Sent
Platform: Mobile

6oi7 IQO
Chal
Status: Sent
Platform: Mobile

                              ónimon*                              Ca)
I   Don tell am so
Status: React
Platfomt: Mobile


He don kolo
Status: Sent
Platform: Mobile

M11 1C4tS7 PMUTC4                                          pnhtO
Attachments:




    I
    htlps:Ummg.whatsapp.neVd/f/AnUjI-
    xgyuoxA_ApBubvuth6cHoauayojaAçmOrflyqg.enc
    70f4o25d-89tb-4bd9-92bd-dobf72al 1 53bjpg
Status: Read
Platform: Mobile

         17 10-Al 57 FM UTC                    105TuPPiIet(O6UCenS)
Attachments:




    I
    https:f/mmgwhatsappnet/d/fIAufdowKlB9fDSZpAJ-lO
    LnBEvHA16JzZDOWCmJK-VFcup8.enc
    d9963d1 c-ad8c-431
Status: Read
Platform: Mobile




Figure         8   Photo from 06/09/2017 WhatsApp Messages between Lukman Aminu and "Olu

Cana"




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       On August 21, 2018, Aminu was indicted by a Grand Jury in the Western District of

Texas (l:18-cr-328-RP) for conspiracy to commit money laundering and aggravated identity

theft. On January 2, 2019, Aminu entered a guilty plea to one count of conspiracy to commit

money laundering related to the scheme described in this Affidavit. Aminu later pleaded guilty to

receipt of stolen property as part of his role in an unrelated scheme. Aminu is cooperating with

law enforcement in hopes of consideration at sentencing.

       A subpoena was issued to WhatsApp for information related to the account associated

with the phone number for "Olu Cana," (226) 606-7625. WhatsApp provided "Device Info" for

the account as   "Os:   6.0, model: HTC htc_m8." Based on a review of HTC's website,

www.HTC.com, HTC is a manufacturer of cell phones and HTC ONE M8 is a model of cell

phone manufactured by the company.

       The phone number (226) 606-7625 also appeared in records subpoenaed from

MoneyGram for transactions related to Aminu. Morakinyo sent nine MoneyGram money orders

to Aminu that included Morakinyo's name, an address in Ontario, Canada, and the phone

number for "Olu Cana," (226) 606-7625. Morakinyo also provided this same Ontario, Canada,

address and phone number, (226) 606-7625, on a U.S. immigration form, a DS-160 visa

application, submitted to the U.S. government on January 1, 2016.

       On U.S. immigration forms, Morakinyo listed his spouse as Isioma Isamah. On May 18,

2017, "Olu Cana" sent Aminu a message that read "U go credit me 720k." Aminu then sent

"Olu Cana" a message with an attachment showing an "Account Transfer from AMINU,

LUKMAN to ISIOMA ISAMAH" totaling 1,000,000 Nigerian Naira.




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Figure      9       Photo from 05/18/2017 WhatsApp Messages between Lukman Aminu and "Olu

Cana"
5I117                                      1O535Lwh*appJt(GlM e*)
U go credit me 720k
Status: Read
Platform: Mobde


2maw own na 2496 remain inside
Status: Read
Platform: Mobile

 iiaoii
So we go talk about the 496 niyen
                                           111n1137,40.    list Uem,l.1V)
Status: Sent
Platform: Mobile

511V17             3a FM(t O4WSlclonOi*lig. 1a17717a7e4sLwjlstutmcfty99.1v)
Aftathmen:




 httpsi/mmg.whatsapp.net/d/f/AjJYepAg2-
 kQeqVBrMBhZqJOBfluieOXGvXy9VptFm-c.enc
 3e42f302-9a9c-4ble-82e3-8144de6ea87cjpg
Status: Sent
Platform: Mobile




            When interviewed, Aminu confirmed that "Olu Cana," the user of (226) 606-7625, was

Olumide Morakinyo, a resident of Ontario, Canada. In addition to their WhatsApp

communications, phone records indicate the two were in frequent telephonic communication.

Aminu stated that he initially met Morakinyo in 2015 when both Aminu and Morakinyo were

living near Baltimore, Maryland. While living in Maryland, Aminu began helping Morakinyo

withdraw money from Green Dot cards. At some point, Morakinyo and Aminu had a dispute

and Aminu stopped working with him. Morakinyo moved from Maryland to Canada and Aminu

moved to New Hampshire. After living and working in Manchester, New Hampshire, for a

period of time, Aminu lost his job and began working for Morakinyo again. Aminu stated that

Morakinyo would send the Green Dot card numbers provided by Aminu to "Additional Suspect

1" (name withheld for investigative reasons) who was a member                 of a group in Nigeria that

conducted fraud. Additional Suspect 1 would load the Green Dot cards with money and

Morakinyo then helped the group obtain the proceeds of the fraud. The WhatsApp messages

between Aminu and Morakinyo, along with the email messages between Aminu and email

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addresses he said belonged to Morakinyo, support Aminu's description of the money laundering

scheme he engaged in with Morakinyo.

       On December 21, 2019, a search warrant was obtained for a Facebook account belonging

to Morakinyo (1:1 8-mj-787-ML). The "Registration Date" for the account is listed as August 17,

2007. Two of the "Registered Email Addresses" for the Facebook account were

snazzyolu@gmail.com and snazzyolu@yahoo.com. A review of the contents of the Facebook

account showed a conversation between Morakinyo and Facebook user Kaomi Smart. On March

2, 2018, Morakinyo stated "go update u soon on our level." On March 9, 2018, Smart sent

Morakinyo a message stating: "How far brother I never hear from you about the level and I

broke right now if u could sort me out asap I'll appreciate it a lot." I know from experience and

discussions with other law enforcement that the term "level" is used by individuals involved in

computer crime to refer to fraudulent schemes.

       In a 2015 application for a United States B1/B2 Visa, Morakinyo provided the email

account, olumide@morakinyo.com, as his email account. On February 12, 2019, a search

warrant was executed on the account (1:19-mj-62-ML). The search warrant response provided

by Microsoft listed the "Device User Agent" associated with the account as "HTC-EAS-

HTCOneM8." The account contained approximately 100 emails that were sent from

olumide@morakinyo.com to the email account snazzyolu@gmail.com. The account also

contained approximately 80 messages that were sent to the email account

moraksolu@yahoo.com from May 12, 2017, to May 19, 2018.

       On March 19, 2019, a search warrant was executed on the account snazzyolu@gmail.com

(1:19-mj-107-ML). The search warrant response provided by Google listed "Device Attributes"

for the email account, to include "Model: HTC One_M8." The "Recovery e-Mail" for the



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account was listed as account moraksolu@yahoo.com. The account also contained five

messages that were received from the accountmoraksolu@yahoo.com from December 29, 2017

to January 14, 2019. Morakinyo also provided the email account moraksolu@yahoo.com as his

email account on a 2010 application for a United States B1IB2 Visa.

       Many of the emails in the Microsoft and Google accounts contained information related

to the purchase of used cars in the U.S. for shipment to Nigeria. This is a common method used

by individuals involved in computer crime to launder the proceeds of crime.

       On June 28, 2019, U.S. Customs and Border Protection confirmed that Morakinyo

crossed from Canada into the U.S. at Lewiston, New York. Morakinyo entered the U.S. with his

spouse, Isioma Isamah, and two minors. Canadian law enforcement confirmed that Morakinyo

crossed back into Canada from the U.S. on July   1,   2019.




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REQUEST FOR SEALING

       I further request that the Court order that all papers in support of this application, including

the affidavit and criminal complaint, be sealed until further order of the Court. These documents

discuss an ongoing criminal investigation, involving undercover activity and covert operatiOns,

which is neither public nor known to all of the targets of the investigation. Accordingly, there is

good cause to seal these documents because their premature disclosure may seriously jeopardize

that investigation.


                                                    Respectfully submitted



                                                    Cade Cannon
                                                    Special Agent
                                                    Federal Bureau of Investigation


        Subscribed and sworn to before me on                         /                ,   2019.




                                               HONORABLE ANDREW W. AUSTIN
                                               UNITED STATES MAGISTRATE JUDGE
                                               WESTERN DISTRICT OF TEXAS




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